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                                                                                            CLEAR FORM

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                             CRIMINAL MINUTES - CHANGE OF PLEA


   Case No.: CR 11-762-PSG                                                                     Date: September 19, 2011
   Present: The Honorable Philip S. Gutierrez                                                  , G✔District Judge / G Magistrate Judge

   Linda Williams                       Miriam Baird                       None                                 Paul Stern
Relief Deputy Clerk                           Court Reporter                         Interpreter                    Assistant U.S. Attorney




               USA v. DEFENDANT(S) PRESENT                                     ATTORNEYS PRESENT FOR DEFENDANTS
              JANETH BREWER                                                              RICHARD NAHIGIAN
                                ✔ Bond G O/R
                      G Custody G                                                                       ✔ Retained
                                                                                            G Appointed G


                      G Custody G Bond G O/R                                                  G Appointed G Retained


                      G Custody G Bond G O/R                                                  G Appointed G Retained


                      G Custody G Bond G O/R                                                  G Appointed G Retained


                      G Custody G Bond G O/R                                                  G Appointed G Retained


   PROCEEDINGS: GUILTY PLEA HEARING


   ✔ Defendant moves to change plea to the Single-Count Information.
   G
   ✔ Defendant now enters a new and different plea of Guilty to Count(s)
   G                                                                                     One (1)                                    of the
         Information.
   ✔ The Court questions the defendant regarding plea of Guilty and finds it knowledgeable and voluntary and orders the plea
   G
     accepted and entered
   ✔ The Court refers the defendant to the Probation Office for investigation and report and continues the matter to
   G
     Monday, February 27, 2012 at 11 am             for sentencing.
   G The Court vacates the court and/or jury trial date.
   G The pretrial conference set for                         is off calendar as to defendant                                 .
   ✔ Court orders:
   G
         The plea agreement to be incorporated into the record, and made part of today's proceedings.

         Counsel are reminded to electronically file their position papers timely.

   G Other:



                                                                                                               00         :        30
                                                                                  Initials of Deputy Clerk             ljw
   cc:    Probation Office
   CR-08 (09/09)                               CRIMINAL MINUTES - CHANGE OF PLEA
